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                 IN THE UNITED STATES DISTRICT COURT FOR THE
               EASTERN DISTRICT OF ARKANSAS, CENTRAL DIVISION


FRAZIER, et al.                                     )
                                                    )       Hon. Kristine G. Baker
                        Plaintiffs,                 )
                v.                                  )       Case No. 4:20-cv-434 (KGB)
                                                    )
GRAVES, et al.                                      )
                                                    )
                        Defendants.                 )
                                                    )
                                                    )
                                                    )

     JOINT MEMORANDUM OF LAW IN SUPPORT OF MOTION TO STAY LIMITED
                        DISCOVERY DEADLINE

        Plaintiffs and ADC Defendants respectfully submit this memorandum of law in support of

their joint motion to stay the limited discovery deadline as to the Plaintiffs and the ADC Defendants

in order to help facilitate settlement negotiations (ECF No. 256).

                                         STATEMENT OF FACTS

1.      In an order dated September 12, 2022, the Court “grant[ed] plaintiffs an additional 45 days

in which to conduct limited discovery solely on the issue of exhaustion of administrative

remedies.” Order at 5, ECF No. 223. The Court also granted plaintiffs “an additional 30 days”

from the end of the limited discovery period “to file their response to the ADC Defendants’ and

Wellpath’s motions for summary judgment,” and granted the ADC Defendants and Wellpath “21

days from the date plaintiffs’ response brief is filed to file a reply . . . in support of their motions

for summary judgment.” Id. at 5, 7.

2.      That order further held that “[i]f plaintiffs determine that certain of their discovery requests

relate to exhaustion yet ADC Defendants and Wellpath disagree and refuse to respond, plaintiffs

may renew their motion to compel in a separate filing raising these issues with the Court seeking
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appropriate consideration and, if necessary, a further extension of time to complete limited

discovery on the issue of exhaustion to account for the delay.” Id. at 6.

3.      Following the issuance of that order, Plaintiffs filed motions to compel the production of

Covid-19 related grievances against the State Defendants (ECF No. 225) and Wellpath (ECF No.

229), and sought to “extend[] the close of discovery until 45 days after the Defendants collectively

complete document production.” Pls. Mot. to Compel at 2, ECF No. 225; Pls. Mot. to Compel at

1, ECF No. 229 (same).

4.      On January 30, 2023, the Court granted Plaintiffs’ motions to compel with respect to the

ADC Defendants and granted, in part, and denied, in part, Plaintiffs’ motion to compel Wellpath.

Order at 14, ECF No. 235. Specifically, Wellpath was ordered to produce “all grievances, including

the results of those grievances, related to COVID-19 . . . to the extent a patient has signed a waiver

or satisfactory protections have been made through a protective order in this litigation to address

HIPAA concerns to release the grievance information sought by plaintiffs.” Id.

5.      As part of that order, the Court also “grant[ed] plaintiffs’ motion to extend the close of

discovery until 45 days after defendants collectively complete document production as required

by this Order.” Id. at 15.

6.      On March 27, 2023, in response to Wellpath’s continued withholding of responsive

grievances, Plaintiffs filed another motion to compel Wellpath to produce exhaustion-related

discovery. Pls. Mot. to Compel, ECF No. 244.

7.      On September 12, 2023, the Court granted Plaintiffs’ motion to compel Wellpath to produce

exhaustion-related discovery. Order, ECF No. 255.

8.      On September 22, 2023, Wellpath produced Covid-19 related grievances, marking the

period when—consistent with the Court’s January 30 Order— “defendants collectively



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complete[d] document production,” triggering the start of the 45 day clock. 1 Pls. Mot. to Compel

at 15, ECF No. 235; see also Mot. to Compel at 7, ECF No. 223.

9.     Thus, the deadline for limited discovery is on November 6, 2023 (45 days after September

22, 2023); Plaintiffs’ brief opposing summary judgment is due on December 6, 2023 (30 days after

November 6, 2023); and Defendants’ reply is due on December 27, 2023 (21 days after December

6, 2023).

                                           ARGUMENT

10.    Under Fed. R. Civ. P. 26(c), a district court may stay discovery upon a showing of good

cause. See, e.g., Order Granting Mot. to Stay Discover at 4, Danger v. Nextep Funding, LLC, No.

18-cv-567 (SRN/LIB), 2019 WL 4917181, at *2 (D. Minn. Jan. 22, 2019) (citing Fed. R. Civ. P.

26(c); TE Connectivity Networks Inc. v. All Systems Broadband, Inc., No. 13-cv-1356

(ADM/FLN), 2013 WL 4487505, at *1 (D. Minn. Aug. 20, 2013)).

11.    In addition, a district court has the inherent power to stay the proceedings of an action, “so

as to control [its] docket, to conserve judicial resources, and to provide for the just determination

of cases which pend before [it].” Id. (quoting Kemp v. Tyson Seafood Grp., Inc., 19 F. Supp. 2d

961, 964 (D. Minn. 1998)); accord Cottrell v. Duke, 737 F.3d 1238, 1248 (8th Cir. 2013) (“The

power to stay proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for litigants, and

for counsel.”) (citations omitted); see also Fed. R. Civ. P. 1 (“[The Rules] should be construed,

administered, and employed by the court and the parties to secure the just, speedy, and inexpensive

determination of every action and proceeding.”).




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  Plaintiffs are in the process of reviewing Wellpath’s recent production of Covid-19 related
grievances and reserve the right to challenge its completeness.

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12.    A stay of discovery is especially common and practical when—as here—the parties are

approaching a resolution. See, e.g., Order, Nichols v. First Data Resources, LLC, No. 8:18-CV-

378, 2019 WL 5538051, at *1 (D. Neb. Oct. 25, 2019) (“Further case progress deadlines and

discovery are stayed while the parties discuss settlement”); Stainbrook v. Minn. Dept of Pub.

Safety, 239 F. Supp3d. 1123, 1127 (D. Minn. 2017) (“A stay of these proceedings permits the

parties to seek a mutually agreeable resolution without the need for litigation”); Douglas v. First

Student, Inc., No. 4:09-CV-00652, 2010 WL 3952261, at *1 (E.D. Ark. Oct. 7, 2010) (“The Court

then granted several joint motions to stay discovery to allow the parties to attempt to negotiate a

settlement.”).

13.    The Plaintiffs and ADC Defendants are deep into good faith settlement negotiations and

could benefit from additional time to advance and finalize those negotiations without the press of

an imminent discovery deadline. This Court should grant the joint motion to stay the limited

discovery deadline because it would help facilitate a settlement agreement, which will conserve

judicial resources and permit the parties to seek a mutually agreeable resolution.

       WHEREFORE, for the foregoing reasons, the Plaintiffs and ADC Defendants request that

the Court grant the joint motion and stay the limited discovery deadline.




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Dated: October 30, 2023                    Respectfully submitted,

 Christine A. Cryer                    NAACP LEGAL DEFENSE AND
 Ark. Bar No. 2001082                  EDUCATIONAL FUND, INC.
 Senior Assistant Attorney General     Christopher Kemmitt
 323 Center Street, Suite 200          DC Bar No. 982185
 Little Rock, Arkansas 72201           700 14th Street NW, Suite 600
 Telephone: (501) 682-2029             Washington, DC 20005
 Facsimile: (501) 682-2591             Telephone: (202) 216-5573
 Christine.Cryer@ArkansasAG.gov        and
                                              Amber Koonce
 Attorney for ADC Defendants           700 14th Street NW, Suite 600
                                       Washington, DC 20005
                                       and
                                              Samuel Spital
                                              Jin Hee Lee
                                              Adam Murphy
                                              Victor Genecin
                                       40 Rector Street, 5th Floor
                                       New York, NY 10006
                                       Telephone: (212) 965-2200

                                       SQUIRE PATTON BOGGS (US) LLP
                                       George H. Kendall
                                             Corrine Irish
                                             Nicola Cohen
                                       1211 Avenue of the Americas
                                       New York, NY 10036
                                       Telephone: (212) 872-9800


                                       INITIATIVE FOR A JUST SOCIETY
                                       Omavi Shukur
                                       435 West 116th Street Rm. 605
                                       New York, NY 10027
                                       Telephone: (212) 854-2619

                                       DISABILITY RIGHTS ARKANSAS
                                       Thomas Nichols
                                       400 West Capitol Ave, Suite 1200
                                       Little Rock, AR 72201
                                       Telephone: (501) 296-1775

                                       ARKANSAS CIVIL LIBERTIES UNION
                                       FOUNDATION, INC.
                                       Sarah Everett


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                               904 W. 2nd Street, Suite One
                               Little Rock, AR 72202
                               Telephone: (501) 374-2660

                               Attorneys for Plaintiffs and the Putative
                               Classes




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                               CERTIFICATE OF SERVICE

       I certify that on October 30, 2023, I filed the foregoing document electronically via the

Court’s CM/ECF system, which will send a copy to all counsel of record.

                                            /s/ Christopher Kemmitt
                                            Christopher Kemmitt
                                            NAACP Legal Defense and Educational Fund, Inc.
                                            700 14th Street NW, Suite 600
                                            Washington, DC 20005
                                            Telephone: (202) 216-5573




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